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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    GUY L. DAVIS, et al.,

                         Plaintiffs,

                  v.                                         Case No.: 1:22-cv-00829-RDM

    MTN IRANCELL TELECOMMUNICATIONS
    SERVICES COMPANY, et al.,

                         Defendants.




                                  NOTICE OF RELATED CASE
         In accordance with LCvR 40.5(b)(3), Defendants MTN Group Limited, Phuthuma Nhleko,

and Irene Charnley (collectively, the “MTN Defendants”) notify this Court of the existence of a

related case, Chand v. MTN Irancell Telecommunications Services Co., No. 1:22-cv-00830-TNM,

currently pending before United States District Judge Trevor Neil McFadden. Both this case and

Chand, which were filed by the same counsel on the same day against the same defendants but

were not marked as related, “involve common issues of fact.” LCvR 40.5(b)(3). Pursuant to LCvR

40.5(b)(3), the MTN Defendants file this notice of relatedness “immediately,” and in doing so

preserve all defenses, including the MTN Defendants’ objection to personal jurisdiction, and

reserve all rights, including the right to seek transfer of venue or to consolidate this case with any

other case. The MTN Defendants are concurrently filing a similar notice in Chand.1

         The factual allegations against the MTN Defendants in Chand and Davis—which draw

extensively on the factual allegations in Zobay v. MTN Group Ltd., No. 1:21-cv-03503 (E.D.N.Y.),



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    The operative complaint in Chand is attached as Exhibit A.


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in which plaintiffs are represented by Plaintiffs’ counsel in Chand and Davis—are nearly identical,

and so involve “common issues of fact.” Both complaints are brought by U.S. servicemembers and

contractors or their family members. Both complaints assert claims under the direct-liability

provision of the Anti-Terrorism Act (the “ATA”), 18 U.S.C. § 2333(a). Compare Davis Compl.

¶¶ 2851–2871, with Chand Compl. ¶¶ 1456–1476. Both complaints make the same allegations of

a supposed jurisdictional nexus between the MTN Defendants and the United States (which the

MTN Defendants maintain is inadequate). Compare Davis Compl. ¶¶ 599–643, with Chand Compl.

¶¶ 551–595. Both complaints claim that the MTN Defendants are liable on the theory that MTN

Group acquired an indirect, minority, non-controlling stake in MTN Irancell (“Irancell”), the

second-largest mobile telephone network in Iran. Compare Davis Compl. ¶¶ 500–509, with Chand

Compl. ¶¶ 455–464. Both complaints claim that other indirect shareholders in Irancell had a covert

affiliation with the Islamic Revolutionary Guard Corps (the “IRGC”), such that the company’s

profits indirectly furthered the IRGC’s support of terrorist groups operating outside of Iran.

Compare Davis Compl. ¶¶ 337–361, with Chand Compl. ¶¶ 292–316. The only apparent

difference between the two cases is that at the last step of the lengthy causal chain asserted by the

complaints, the specific attacks that injured the Chand Plaintiffs were allegedly carried out by Shia

militants in Iraq, see Chand Compl. ¶¶ 784–1455, while the specific attacks that injured the Davis

Plaintiffs were allegedly carried out by Sunni militants in Iraq and Afghanistan, see Davis Compl.

¶¶ 946–2850.2

       Accordingly, Davis and Chand are related cases for purposes of LCvR 40.5.




2
  In both complaints, the allegations against Ms. Charnley and Mr. Nhleko are based entirely on
their roles as officers of MTN Group. See, e.g., Davis Compl. ¶¶ 447, 457–462, 487–488, 572;
Chand Compl. ¶¶ 402, 412–417, 442–443, 527.

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Dated: May 2, 2022                             Respectfully submitted,

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